  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP
  Edmond M. George, Esquire
  Michael D. Vagnoni, Esquire (pro hac vice)
  Turner Falk, Esquire
  1120 Route 73, Suite 420
  Mount Laurel, NJ 08054-5108
  Telephone: (856) 795-3300
  Facsimile: (856) 482-0504
  E-mail: edmond.george@obermayer.com
           michael.vagnoni@obermayer.com
           turner.falk@obermayer.com

  Proposed Counsel to the Debtor
  and Debtor in Possession

  In re:                                                    Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                  Case No. 21-16520 (JNP)

                                Debtor.


        NOTICE OF DEBTOR’S SELECTION OF STALKING HORSE BIDDER
       FOR THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS
           PURSUANT TO 11 U.S.C. § 363 OF THE BANKRUPTCY CODE


TO ALL CREDITORS AND PARTIES IN INTEREST:

        PLEASE TAKE NOTICE that Aluminum Shapes, L.L.C., the above-captioned debtor

and debtor in possession (the “Debtor”), by and through its undersigned counsel, hereby

provides Notice, pursuant to the September 30, 2021 Order: (A) Approving Bidding Procedures

and Form of Asset Purchase Agreement in Connection with the Sale of Substantially all of the

Debtor’s Assets, (B) Approving Procedures for the Assumption and Assignment of Executory

Contracts and Unexpired Leases, (C) Approving Procedures for Selection of a Stalking Horse

Bidder and Bid Protections, and (D) Granting Related Relief (the “Bid Procedures Order”)




OMC\4822-6177-0237.v1-10/1/21
[Docket No. 122] of its Selection of a Stalking Horse Bidder, for the sale of substantially all of

its Assets, as those terms are defined by the Bid Procedures Order.

       PLEASE TAKE FURTHER NOTICE that the Debtor has entered into an Asset

Purchase Agreement (“APA”) dated September 30, 2021, subject to Bankruptcy Court approval,

for the sale of substantially all of its Assets, with CGPN, LLC, a Delaware Limited Liability

Company.

       PLEASE TAKE FURTHER NOTICE that the Debtor has selected CGPN, LLC, as the

Stalking Horse Bidder, as that term is defined by the Debtor’s Sale Motion [Docket No.94].

       PLEASE TAKE FURTHER NOTICE, that copies of the APA can be obtained by

requesting a copy from the following: Edmond M. George, Esquire, Obermayer Rebmann

Maxwell & Hippel, LLP, (215) 665-3140, edmond.george@obermayer.com., or Justin Magner,

Cowen and Company, LLC, T: (646) 562-1285 M: (516) 458-5864, justin.magner@cowen.com.


                                              OBERMAYER REBMANN MAXWELL & HIPPEL LLP


Dated: October 1, 2021                               s/ Edmond M. George
                                              Edmond M. George, Esquire
                                              Michael D. Vagnoni, Esquire (pro hac vice)
                                              Turner Falk, Esquire
                                              1120 Route 73, Suite 420
                                              Mount Laurel, NJ 08054-5108
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                                              E-mail:edmond.george@obermayer.com
                                                     michael.vagnoni@obermayer.com
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                                              Counsel to the Debtor in possession.




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